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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

AML IP, LLC,                                         Civil Action No. 6:22-cv-01262-ADA

               Plaintiff,

       v.

AIRBNB, INC.,

               Defendant.


            NOTICE OF AGREED EXTENSION OF TIME FOR DEFENDANT TO
                         RESPOND TO THE COMPLAINT

       Defendant Airbnb, Inc. files this Notice of Agreed Extension of Time for Defendant to

Respond to the Complaint (Dkt. No. 1). Defendant’s counsel contacted Plaintiff’s counsel and

requested a 30-day extension to respond to the Complaint, which is currently due January 3,

2023. Plaintiff agreed to the requested extension and Defendant’s response deadline is extended

to February 2, 2023. This extension does not change the date for any hearing, any final

submission to the Court related to a hearing, or trial. As such, pursuant to the Court’s March 7,

2022 “Amended Standing Order Regarding Joint or Unopposed Request to Change Deadlines,”

Defendant files this Notice regarding the agreed upon extension.

Dated: December 22, 2022                      Respectfully submitted,

                                               TURNER BOYD LLP

                                               /s/ Karen I. Boyd
                                               Karen I. Boyd (State Bar No. 189808)
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                                               Attorneys for Defendant Airnbnb, Inc.


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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on 22nd day of December 2022, the above

document was filed with the Clerk of Court using CM/ECF which will send notification of such

filing to the attorneys of record in this case.


                                                  /s/ Karen I. Boyd




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